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Victim Impact Statement

Kenneth Sicknick


Case# States v. Khater (22-cr-00222)



Defendant: Khater & Tanios



Sentencing Date: 27 January 2023




To the Honorable Judge Hogan:,

I am the brother of Brian Sicknick. His job was an officer with the United
States Capitol Police. But that is not his only identity, He is a brother, a son, a
co-worker that was embraced by his peers. He was loved because of the
person that he was. Heis also a hero.

Today is a terrible day, even if this is the day that justice is to be served.
There are probably some details I do not know regarding the attack on Brian
and his subsequent death when it comes to what was pleaded by the
defendants. However, asking about those things, digging deeper, just brings
too much pain. I cannot read books about that day. Reading articles and
seeing newscasts just bring me down. There is a constant reminder EVERY
SINGLE DAY. I hesitate to ask his co    -workers that were there that day,
because I know how hard that day was for them, and how much they loved
Brian. I do not ask because I do not want them to be in any more pain than
they already are. I know the pain. In time, I will delve deeper into that day
from the people that were there. People…human beings…family…sons and
daughters, husbands and wives. People that were brutally attacked. A few,
like my brother, who died from the actions of inconsiderate animals that only
saw my brother and his fellow officers as targets.

It has been just over two years since Brian was attacked and killed. Yes, I said
killed. Two years of reading or hearing one conspiracy theory after another.
Seeing the testimony of the defense attorney explaining away the attack from
these defendants as self-defense. It sounds almost humorous. Defending
oneself from being attacked by USCP officers because the defendants were
on the attack. It’s been two years of hearing people of the same ilk as the
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defendants try to justify what they did as righteous. Two years of hearing that
Brian didn’t die because of the attacks on J anuary 6th, 2021, so his death
does not matter. Two years of election deniers forgetting or conveniently
ignoring the statement from the medical examiner's office that, “All that
transpired on that day played a role in his condition.”

The two defendants (I will not use their names as it humanizes them. Humans
have names. Dogs have names. Pet rocks are given names. The two
defendants are not worthy of having names or being addressed as such) came
to Washington D.C. that day looking for a fight. They brought with them
chemical sprays (plural). They were not there to be peaceful. What they did
was not an accident. It was not a lapse of judgment. Make no mistake that
what they did that day is who they are.

The only thing that surpasses my anger is my sadness. Sadness that the only
time I can communicate with Brian is to speak into the nothingness and hope
that he is listening. I am sad that I am now hyper aware regarding my
surroundings hoping to see signs that he is still here. A price on a receipt with
his badge number, A cardinal showing up at random, a blue and black
butterfly that flies across my path. I stop when I see these things. I listen, I
remember, I hope that he is OK, because I know that myself and my family are
not.

Brian was never one for the spotlight. He preferred to go about his business,
not bringing attention to himself. My family and I quietly smile at each other
when we attend an event honoring and remembering Brian and the weather
turns bad. We know it's Brian telling us that it is OK, he is OK, please don’t
make a big deal about me, take care of the others that need it. That's what he
would have done.

Brian served in the NJ Air National Guard. He joined because, among other
reasons, he could attain veteran’s status and go on to serve as a police officer.
He ultimately got to serve his country. As an airman and as an officer. That is
all he wanted. His goal was never to be a hero. He was humble.

Brian and I bonded largely through our sense of humor. There was hardly a
day that went by that we did not send a funny meme or gif to each other. No
explanation needed. We both understood the humor, no matter how off-the-
wall it was. Two years later, I still will see something that we both think we
would find funny and reach for my phone. I stop. Angry and sad, I can't share
that moment with him. There is no replacing the small moments like those.
Friends that I have had for longer than one of the defendants has been alive
wouldn’t understand. Some of those same friends cannot talk to me because
they just do not know what to say. So they just feel sorry for me and my
family. Never comfortable to bring up anything that happened that day in
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conversation. These are my closest friends. Friends that would do anything
for me, as I would do for them. I can no longer have the usual conversations
with my friends. They all walk on egg-shells, hoping not to have to breach this
uncomfortable topic. It has changed relationships with people I have known
over 40 years.

Brian is my “little brother” . He is seven years younger than me and 9 years
younger than my older brother Craig. He would hang out with us as that little
kid, but rarely was he a nuisance that would get in our way. He was looked
after by his older brothers, as well as, his older brother’s friends. He would
quietly observe what we were doing, picking up a thing or two along the way.
Craig would work on cars, Brian would pick up some knowledge. I would do
whatever I would be doing, he would be happy just being there. We would, in
our own brotherly way, look after him. When he became older, he would lean
on us for advice from time to time. Eventually, we would do the same with
him. I always admired his determination. We never really worried about him
when he was on his own. We knew he was going to be OK.

One of the things most sought after when a family member loses a loved one
is closure. However, for my family and myself, I believe that there will never
be closure. Quoting author Stephen Grose, “Closure is delusive - it is the false
hope that we can deaden our living grief.” I will forever want to know "why".
Why did these individuals do this? Why did they think that assaulting
someone would make their lives better? How can you better your own life by
attacking and taking the life of an innocent person? Why did they not look
around and see that what they were doing was very wrong and walk away? I
suspect it was indifference to someone else's life. Indifference is the same
thing that stopped them from turning themselves in, instead of going about
their lives like nothing had happened. Not worrying about what they did until
they got caught. I cannot imagine living a life knowing that you attacked
someone, getting caught, and then pleading not guilty until you got tired of
sitting in custody. These morons were on video and they had the balls to
plead not guilty. Once again. No remorse. The only remorse they had was
getting caught.

Sometimes the only way to get closure is by accepting that you will never get
it. However, I believe forgiveness for these two will never come from me. It
would not bring me any closer to closure. In some way, in some form, I hope
that the individuals that attacked Brian are constantly reminded of what they
have done and that they are perpetually tortured by it, as I am.

I am in a constant state of anxiety now. Not something that ever affected me.
I could always just jump into a new situation, because I knew that whatever the
situation was, I could make the best out of it. The best way to explain how I
have gone through life since the attack on Brian and his subsequent passing is
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by quoting a T.V . show that focuses on the grief of losing a loved one.
Comedian and actor Ricky Gervais in his show “Afterlife” explains perfectly
how I am now going through life.

         “I feel sad all of the time. I’m not the person I was…(Brian) dying is like
I lost a large part of me. And all the good things, all of the happiness, the joy
in anything. I feel like I’m nothing.

        People think I’m OK. They think I’m moving on with my life. I’m my
sarcastic self and that my sadness, my moodiness is the lapse. BUT IT IS
NOT. This is me all of the time now. Everything else is afront. I’m not well,
but I do remember what it was like to be normal…So, I do my best impression
of that. But this is what I really am now.

        I want to be normal again. I have tried (since Brian’s death} to be
positive. To put that face on. But it isjust for show. That is to keep the
people I love in a place so that they don’t worry.”

I continued on with my job as a manager at a retail store after Brian’s death,
but ultimately could not handle the normal stresses of retail. I used most of my
savings and took 6 months off from work. Never to return to a job, that for the
most part, I enjoyed. I excelled at customer service, now I just want to avoid
people in general. I ultimately found a job that is largely stress free and the
only people I have to interact with are my co-workers on rare occasions. It’s
just a job. A place holder. Just enough to pay my bills. I work 60   -70 hours a
week. My coping mechanism has become working so that I don't have to think
about anything else. This leaves littletime for myself or my family. For down
time. For hanging out with friends. For going out on the town with my wife,
who because I work so many hours, I see less than ⅓ of a day per week. I'm
embarrassed to tell you that I cry at random moments, no warni    ng. Luckily I
am usually by myself when this happens.

There are triggers everywhere. A phrase that is uttered, a meme that comes
across my social media, a scene in a movie or a T.V. show that I have to leave
the room for or turn off. My wife constantly worries that something on the T.V.
will trigger me and pausing and asking me if I'm OK before we continue
watching. Politics used to be something to joke and complain about. Now it is
a constant reminder of what happened to Brian that day.

I would like to share a quote that was provided my a member of a support
group I now belong to. A group of other siblings who also lost their loved
ones in the line of duty. We call ourselves the best family that you never want
to be a part of. This quote reflects, how I believe, is how myself and others
that loved Brian feel.
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  "The reality is that you will grieve forever. You will not "get over" the loss of
a loved one; you will learn to live with it. You will heal and you will rebuild
yourself around the loss that you have suffered. You will be whole again, but
you will never be the same. Nor should you be the same, nor would you want
to."

These two defendants, who grew up literally 10 minutes away from where
Brian and I grew up. They have taken away mybrother’s future, as well as
mine. Not only was Brian hurt, so were his family, his-co-workers, his friends,
his partner. My healing will consist of getting used to the pain, not overcoming
it. Learning to exist while still being damaged. I suspect that goes for
everyone else Brian came across in his life.

Judge, I ask that you consider these things when passing sentencing. One of
the defendants, if given what was suggested, will still be free and still be
younger than Brian was when he died. Meaningthat he will be given another
chance at life, something that cannot be said for Brian. The other defendant is
asking for time served. Whatever the extenuating circumstances were to put
him in that situation, please be reminded that he participated. Hebought the
chemical irritants that Brian was attacked with. He was part of the crowd that
overwhelmed the police 58-1. He was not there by mistake.

It is well documented that extreme stress can cause blood clots that can lead
to a stroke. Brian was a mountain bike officer, exercised, ate healthy. They
may both be pleading for a lesser charge than homicide, but there is little
doubt in my mind that their actions led to my brother’s death.

I miss my brother dearly. I agonize everyday that my remaining sibling and my
parents are doing OK. That his partner Sandra is OK. That his co
                                                               -workers are
OK. The United States Capitol Police are so busy taking careof my family, I
wonder who is taking care of them. But there is no longer OK. It's just moving
forward knowing that we will never get Brian back.

Respectfully,



Kenneth Sicknick
